Case 14-10979-CSS   Doc 1441-2   Filed 07/01/14   Page 1 of 5




                       EXHIBIT A

                     Proposed Order
              Case 14-10979-CSS               Doc 1441-2          Filed 07/01/14        Page 2 of 5




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                              )
In re:                                                        )    Chapter 11
                                                              )
ENERGY FUTURE HOLDINGS CORP., et al.,1                        )    Case No. 14-10979 (CSS)
                                                              )
                           Debtors.                           )    (Jointly Administered)
                                                              )

                           ORDER AUTHORIZING
                   CERTAIN OF THE DEBTORS TO CONTINUE
            HONORING OBLIGATIONS TO RETIREES AND NON-INSIDER
         EMPLOYEES ON ACCOUNT OF NON-QUALIFIED BENEFIT PROGRAMS


         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), for entry of an order (this “Order”) authorizing, but not

directing, the Debtors to honor their obligations under the Non-Qualified Benefit Programs and

to continue to honor certain obligations to current, non-insider employees and retirees under the

Non-Qualified Benefit Programs in the ordinary course of business, all as more fully set forth in

the Motion and the Kirby Declaration; and upon the First Day Declaration; and the Court having

found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the

Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the

Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that the relief requested in



1   The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
    debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
    chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
    digits of their federal tax identification numbers is not provided herein. A complete list of such information
    may be obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.

2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
            Case 14-10979-CSS          Doc 1441-2      Filed 07/01/14     Page 3 of 5




the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

interest; and the Court having found that the Debtors provided appropriate notice of the Motion

and the opportunity for a hearing on the Motion under the circumstances; and the Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before the Court (the “Hearing”); and the Court having determined that the legal and

factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court; and after due deliberation and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted as set forth herein.

       2.      The Debtors are authorized, but not directed, to continue to honor certain

obligations arising in connection with the Non-Qualified Benefit Programs in the ordinary course

of business and in accordance with the Debtors’ prepetition policies and programs, and to honor

any related administrative costs; provided, however, that the Debtors shall not honor any

obligations to any insider (as defined in the Bankruptcy Code).

       3.      Notwithstanding the foregoing, nothing in this Order shall constitute a

determination by the Court as to whether the employees subject of this Order are or are not

“insiders”, as that term is defined in section 101(31) of the Bankruptcy Code; provided, however,

that payments actually made under the Non-Qualified Benefits Programs pursuant to paragraph 2

above are expressly authorized by this Court and shall not be subject to disgorgement or

avoidance actions commenced after such payments have been made on the basis that the

employees were insiders.

       4.      In accordance with the Order and any other order of this Court, each of the

financial institutions at which the Debtors maintain their accounts relating to the payment of the


                                                 2
            Case 14-10979-CSS          Doc 1441-2      Filed 07/01/14     Page 4 of 5




obligations described in the Motion is authorized to honor checks presented for payment of

obligations described in the Motion and all fund transfer requests made by the Debtors related

thereto to the extent that sufficient funds are on deposit in such amounts.

       5.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

claim against a Debtor entity; (b) a waiver of the Debtors’ rights to dispute any claim on any

grounds; (c) a promise or requirement to pay any claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this Order or the Motion; (e) a request or

authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) a waiver of the Debtors’ rights under the Bankruptcy Code or any other

applicable law; or (g) to create an administrative priority claim on account of the Employee

Obligations. Payments made pursuant to this Order shall not be construed as an admission as to

the validity of any claim or a waiver of the Debtors’ rights to subsequently dispute such claim.

       6.      Notice of the Motion as provided therein shall be deemed good and sufficient and

the requirements of the Local Bankruptcy Rule are satisfied by such notice.

       7.      Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,

and 9014 or otherwise, the terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       8.      All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       9.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.




                                                 3
             Case 14-10979-CSS        Doc 1441-2      Filed 07/01/14     Page 5 of 5




       10.     The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Wilmington, Delaware
Dated: ____, 2014


                                                 THE HONORABLE CHRISTOPHER S. SONTCHI
                                                 UNITED STATES BANKRUPTCY JUDGE




                                                4
